             Case 2:04-cv-09049-DOC-RNB Document 1199-3 Filed 12/07/07 Page 1 of 3 Page ID
                                              #:5553



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                                              UNITED STATES DISTRICT COURT

                    9                    CENTRAL DISTRICT OF CALIFORNIA

                   la                              EASTERN DIVISION
                   11   CARTER BRYANT, an individual,      CASE NO. CV 04-9049 SGL (RNBx}
                                                           Consolidated with
                   12                                      Case Nos. CV 04-09059 & CV OS-2727
                                      Plaintiff,
                   13                                      Hon. Stephen G. Larson
                             vs.                           MATTEL INC.' S AMENDED
                   14
                                                           APPLICATION TO FILE UNDER
                   IS MATTEL, INC., a Delaware             SEAL EXHIBITS 18 AND 66 TO THE
                      corporation,                         DECLARATION OF JUAN PABLO
                   16                                      ALBAN IN SUPPORT OF MATTEL,
                                                           INC.'S MOTIONS TO COMPEL
                   17                 Defendant.           PRODUCTION FROM FARHAD
                                                           LARIAN AND STERN &
                   18                                      GOLDBERG

                   19 ^ AND CONSOLIDATED ACTIONS            PROPOSED] ORDER

                   20
                                                           Hearing Date:     January 10, 2008
                   21                                      Time:             9:00 a.m.
                   22                                      Place:            Telephonic

                   23                                      Phase Y
                                                           Discovery Cut-off: January 28 2008
                   24                                      Pre-trial Conference: May 5, 208
                                                           Trial Date:           May 27, 2008
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                                                                      APPLICATION TO FILE UNDER SEAL
              Case 2:04-cv-09049-DOC-RNB Document 1199-3 Filed 12/07/07 Page 2 of 3 Page ID
                                               #:5554



                     1              Pursuant to Local Rule 79-5.1 and the Stipulated Protective Order entered by

                     2 the Court in this action, plaintiff Mattel, Inc. ("Mattel"} hereby respectfully requests
                     3 ^ that the Court order f led under seal Exhibits 1$ and 66 to the concurrently filed
                     4 ^ Declaration of Juan Pablo Alban in Support of Mattel, Int.'s Motion to Compel
                     S ^ Production of Metadata {"Alban Declaration"}.
                     6              The Alban Declaration attaches as exhibits documents that Carter Bryant,
                     7 ^ MGA Entertainment, Inc. {"MGA"}, or Mattel, Inc. have designated as
                     8 "Confidential" or "Confidential--Attorneys' Eyes Only" pursuant to the Protective
                     9 Order. Exhibit 1 S to the Alban Declaration is Mattel's Second Amended Answers
                   10 and Counterclaims, which Mattel designated as "Confidential." Exhibit 66 consists
                   11         of portions of the transcript of Paula Garcia , which were designated by MGA and/or
                   12 Carter Bryant as "Confidential--Attorneys' Eyes Only." Mattel respectfixlly requests
                   13 that the Court order Exhibits 1 S and 66 be filed under seal.
                   14               In the alternative, Mattel requests that the Court declare these Exhibits to be
                   15 1 outside the definition of "Confidential" and/or "Confidential--Attorneys' Eyes Only"
                   16 as contained in the Stipulated Protective Order and order them to be filed as part of
                   17 the public record.
                   18
                   19 ^ DATED: December 7, 2007                   QUINN EMANUEL URQU2-TART OLIVER &
                                                                  HEDGES, LLP
                   20                                                                             a
                                                                                          ^^^,^
                   21                                                           ^,,,,r,^'^^^'^,^'
                                                                   B ^I         ; .d•^ r     ^^^_ .

                   22                                                     J    Pa : to Alban
                                                                            orne s for Plaintiff
                   23                                                     Mattel, ^nc.

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07209/2319754 .1              ^                                               _2_

                         ^I                                                          AMENDED APPLICATION TO FILE UNDER SEAL
             Case 2:04-cv-09049-DOC-RNB Document 1199-3 Filed 12/07/07 Page 3 of 3 Page ID
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                                                         (PROPOSED] ORDER


                                        Based on the above Application, and good cause appearing far the
                            entry thereof, IT IS HEREBY ORDERED:
                                        Exhibits 1 S and 66 to the Declaration of Juan Pablo Alban submitted in

                            support of Mattel's Motions to Compel Farhad Larian and Stern & Goldberg to
                            Produce Documents, are ORDERED lodged under seal pursuant to Local Rule 79-

                            5.1.

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                  XO
                  11        DATED:                        , 2007
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                  12                                               United States District Judge
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                       I^                                                   AMENDED APPLICATION TO FILE UNDER SEAL
